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                     IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF DELAWARE

  NIPPON SHINYAKU CO., LTD., Plaintiff,      )
                                             )
  v.                                         )
                                             )   C.A. No. 21-1015 (JLH)
  SAREPTA THERAPEUTICS, INC.,
  Defendant.                                 )
                                             )
  SAREPTA THERAPEUTICS, INC.,                )
  Defendant and Counter-Plaintiff            )
                                             )
  v.                                         )
  NIPPON SHINYAKU CO., LTD. and              )
                                             )
  NS PHARMA, INC., Plaintiff and Counter-
                                             )
  Defendants.                                )
                 NIPPON SHINYAKU CO. AND NS PHARMA, INC.’S
               LETTER REGARDING REQUEST FOR LEAVE TO FILE
                      MOTION FOR SUMMARY JUDGMENT


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                                                   Defendant NS Pharma, Inc.

                                                   Dated: September 26, 2024
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 Dear Judge Hall:
          Pursuant to the Court’s July 2, 2024 Order (D.I. 597), Plaintiff/Counter-Defendant Nippon
 Shinyaku Co., Ltd. and Counter-Defendant NS Pharma, Inc. (collectively, “NS”) move for leave
 to file a motion for summary judgment regarding invalidity of the sole remaining asserted claim 1
 of the sole remaining patent asserted by counter-plaintiffs Sarepta Therapeutics, Inc. and the
 University of Western Australia (collectively, “Sarepta”)—U.S. Patent No. 9,994,851 (the “’851
 Patent”). Supplemental expert discovery has confirmed that the ’851 Patent is invalid for lack of
 written description and enablement, no material disputes of fact remain regarding these invalidity
 legal issues, and, thus, the Court should address this issue before trial.
         This Court clarified its claim construction that claim 1 of the ’851 Patent “requires 100%
 complementarity to consecutive bases of a target region of exon 53 throughout the entire length of
 the antisense oligonucleotide.” D.I. 573. Based on this, each side’s experts served supplemental
 expert reports and have subsequently been deposed. The record developed during this
 supplemental expert discovery period leaves no material factual dispute regarding the invalidity of
 the ’851 Patent. Thus, this legal issue is ripe for the Court’s consideration. Granting summary
 judgment in favor of NS regarding the invalidity of the ’851 Patent will greatly simplify issues for
 trial and conserve Court and party resources.

        The Court should grant summary judgment of invalidity in favor of NS based on
 undisputed facts and pure legal issues as outlined below:
         First, claim 1 of the ’851 Patent is invalid for lack of written description. As demonstrated
 in the proposed Statement of Undisputed Facts filed contemporaneously herewith, Sarepta’s expert
 Dr. Dowdy cannot dispute that the scope of claim 1 of the ’851 Patent is very large—encompassing
 thousands of unique configurations of antisense oligonucleotides. Yet, the specification of the
 ’851 Patent fails to demonstrate that a single candidate meeting the claims’ structural limitations
 causes the required function of exon skipping, let alone a representative number of species. Nor
 does the specification disclose structural features or structural correlation to the claimed exon 53-
 skipping function, so Sarepta cannot satisfy the written description requirement.
         Second, claim 1 of the ’851 Patent also is invalid because it is not enabled. The claim is
 broadly directed to a range of exon 53 skipping, from “very faint” to complete, yet there is no
 dispute that at most the specification only enables a POSA to make an AO with “very faint” exon
 skipping and provides no guidance on how the POSA could modify an AO to increase its skipping
 efficacy. Allowing a jury to determine whether claim 1 of the ’851 Patent is enabled directly
 contradicts binding Federal Circuit and Supreme Court precedent where claims with far more
 specification support have been held to be non-enabled. No factual disputes regarding this
 enablement issue remain for the jury, and the Court should thus decide this issue as a matter of law
 now to streamline issues for trial.
                                           *       *       *
         NS seeks to conserve judicial resources, streamline the trial in this matter, and have the
 Court resolve the purely legal invalidity issues raised in its motion for summary judgment (Ex. A
 hereto, with accompanying memorandum of law in support attached as Ex. A-1, and statement of
 undisputed facts attached as Exhibit A-2). NS therefore respectfully requests the Court grant it


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 leave to file the attached motion for summary judgment and resolve the motion prior to the
 scheduled December 2024 trial.


  Dated: September 26, 2024                           Respectfully submitted,

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